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                              UNITED STATES DISTRICT COURT
15
                            CENTRAL DISTRICT OF CALIFORNIA
16
17     UNITED STATES SECURITIES                       Case No.
       AND EXCHANGE COMMISSION,
18
                      Plaintiff,                      COMPLAINT
19
                v.
20
       WELLNESS MATRIX GROUP, INC.                    JURY DEMAND
21     and GEORGE TODT,
22                    Defendants,
23
24         Plaintiff Securities and Exchange Commission (“SEC”) alleges:
25                                 JURISDICTION AND VENUE
26         1.        The SEC brings this action pursuant to authority conferred on it by
27   Sections 21(d) and 21(e) of the Securities Exchange Act of 1934 (“Exchange Act”),
28   15 U.S.C. §§ 78u(d) and 78u(e), to restrain and enjoin the Defendants Wellness
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1    Matrix Group, Inc. (“Wellness Matrix”) and George Todt from engaging in the acts,
2    practices, and courses of business described in this Complaint and acts, practices, and
3    courses of business of similar purport and object. The SEC seeks permanent
4    injunctions and civil penalties pursuant to Section 21(d)(3) of the Exchange Act, 15
5    U.S.C. § 78u(d)(3). In addition, the SEC seeks a conduct-based injunction pursuant to
6    Section 21(d)(3) of the Exchange Act, 15 U.S.C. § 78u(d)(3), an officer and director
7    bar pursuant to Section 21(d)(2) of the Exchange Act, 15 U.S.C. § 78u(d)(2), and a
8    penny stock bar pursuant to Section 21(d)(6)(A) of the Exchange Act, 15 U.S.C.
9    § 78u(d)(6)(A), against Todt based on his violations of the securities laws.
10          2.     The Court has jurisdiction over this action pursuant to Sections 21(d)
11   and 21(e) of the Exchange Act, 15 U.S.C. §§ 78u(d), 78u(e).
12          3.     Wellness Matrix and Todt have, directly and indirectly, made use of the
13   means or instrumentalities of interstate commerce, of the mails, or of the facilities of
14   a national securities exchange in connection with the transactions, acts, practices and
15   courses of business alleged in this complaint.
16          4.     Venue is proper in this district pursuant to Section 27(a) of the Exchange
17   Act, 15 U.S.C. § 78aa(a), because certain of the transactions, acts, practices and
18   courses of conduct constituting violations of the federal securities laws occurred
19   within this district.
20                                        SUMMARY
21          5.     In February and March 2020, Wellness Matrix, a Nevada microcap
22   company, and George Todt, a Wellness Matrix business consultant who controlled
23   much of Wellness Matrix’s day-to-day activities, made materially false and
24   misleading statements regarding COVID-19 at-home test kits and/or disinfectants that
25   defrauded Wellness Matrix investors.
26          6.     Wellness Matrix and Todt marketed the at-home test kits and
27   disinfectants to consumers on Wellness Matrix-affiliated websites when Wellness
28   Matrix did not have the products to deliver to consumers.

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1          7.       Furthermore, Wellness Matrix and Todt made materially false and
2    misleading statements about the products themselves. For example, Wellness Matrix
3    and Todt falsely represented that the at-home test kits were approved and registered
4    for use by the United States Food and Drug Administration (“FDA”) and the
5    disinfectants were approved and registered by the United States Environmental
6    Protection Agency (“EPA”).
7          8.       At the time Wellness Matrix and Todt made these materially false and
8    misleading statements, Wellness Matrix and Todt knew, or were reckless in not
9    knowing, that they did not have the products to deliver to consumers and that the
10   products were neither approved nor registered by the FDA or the EPA.
11         9.       By engaging in the transactions, acts, practices, and courses of business
12   alleged herein, Wellness Matrix and Todt knowingly and recklessly violated Section
13   10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R.
14   § 240.10b-5.
15         10.      As described in paragraph 1, the SEC seeks permanent injunctions and
16   civil penalties against Wellness Matrix and Todt, and a conduct-based injunction,
17   officer and director bar, and a penny stock bar against Todt, based on their violations
18   of the securities laws.
19                                        DEFENDANTS
20         11.      Wellness Matrix Group, Inc. (“Wellness Matrix”) is a Nevada
21   corporation, incorporated in 2009, with its principal executive offices located in
22   Huntington Beach, California. Wellness Matrix claims to be a healthcare technologies
23   start-up business. Wellness Matrix’s common shares are quoted on OTC Link, an
24   electronic inter-dealer quotation system for over-the-counter securities operated by
25   OTC Markets Group Inc.
26         12.      George Todt, 67 years old, is a resident of Marina Del Rey, California
27   and a Wellness Matrix business consultant. Todt owns 82.75 percent of the common
28   shares of Wellness Matrix through a nominee entity, Chanzong Huayuan LLC

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1    (“Chanzong”). Chanzong is a Nevada limited-liability company formed in 2015. Todt
2    is the manager of the entity.
3                                            FACTS
4    I.    Wellness Matrix’s Business and Financial Condition
5          13.    On June 1, 2018, a predecessor in interest to Wellness Matrix acquired
6    Wellness Matrix Company, the business purpose of which was “to develop and
7    implement the most advanced technologies available to provide advanced healthcare
8    and to provide advanced systems and platforms to allow customers to have access to
9    the most secure data storage and records security available.”
10         14.    On June 20, 2018, the Board approved the name change to Wellness
11   Matrix Group, Inc. and filed an amendment to its articles of incorporation with the
12   state of Nevada.
13         15.    On April 10, 2020, Wellness Matrix filed an amended Form 10 (which
14   was later withdrawn) that included audited annual financial statements for Wellness
15   Matrix’s year ending April 30, 2019 and unaudited financial statements for the nine
16   months ended January 31, 2020.
17         16.    Wellness Matrix’s audited financial statements showed that Wellness
18   Matrix had assets of $54,998, liabilities of $309,365, and an equity deficit of
19   $254,367 as of April 30, 2019. The company had zero revenues for the year ending
20   April 30, 2019.
21         17.    Wellness Matrix’s unaudited financial statements showed the company
22   had zero revenues for the nine months ended January 31, 2020 and had assets of $459
23   as of January 31, 2020.
24         18.    As of April 7, 2021, Wellness Matrix’s market capitalization was
25   approximately $4.5 million.
26   II.   Todt Controls Wellness Matrix.
27         19.    During the relevant period, Wellness Matrix’s CEO and Chairman of the
28   Board of Directors allowed Todt to run the day-to-day affairs of the company,

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1    including naming the Wellness Matrix board members.
2            20.   Todt became involved with Wellness Matrix in 2018 when Wellness
3    Matrix’s CEO agreed to sell the Wellness Matrix public company shell to Todt for
4    $300,000. The agreement provided that Wellness Matrix’s CEO would transfer his
5    controlling Series A preferred shares to Todt after the purchase price had been paid in
6    full.
7            21.   During the relevant period, Wellness Matrix’s CEO allowed Todt to
8    control WMGR.
9
     III.    Wellness Matrix’s and Todt’s Representations Regarding the COVID-19-
10           Related Products.
11           22.   In February and March of 2020, Wellness Matrix and Todt touted and
12   marketed COVID-19 test kits and disinfectant products on Wellness Matrix-affiliated
13   websites when they did not have the products to deliver to consumers.
14           23.   Furthermore, Wellness Matrix and Todt made materially false and/or
15   misleading statements about the products themselves. For example, Wellness Matrix
16   and Todt falsely represented that the at-home test kits were FDA approved and
17   registered and the disinfectants were EPA approved and registered.
18           24.   Todt acted personally and on behalf of Wellness Matrix when engaging
19   in this fraudulent conduct.
20           A.    Wellness Matrix Is Unable to Procure COVID-19-Related Products.
21           25.   Beginning in February 2020, Todt began communicating with some of
22   his associates regarding potential COVID-19-related products for Wellness Matrix to
23   market.
24           26.   In connection with these communications, Todt received information on
25   an antiviral disinfecting compound (the “Disinfectant”) that claimed to be effective in
26   killing COVID-19 for 28 days, among other things.
27           27.   Around the same time, Todt registered the website coronastop28.com
28   and his ex-wife registered the websites stopcorona28.com and virastop28.com.

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1             28.   On or about March 16, 2020, Todt learned of a COVID-19 test
2    distributed by CoronaCide, LLC (“CoronaCide”). The label for the CoronaCide test
3    kit that Todt received warned that the test kits were “For In Vitro Diagnostic Use
4    Only” and “For Emergency Use Authorization Only.”
5             29.   Soon after Todt learned of these CoronaCide tests kits, Wellness Matrix
6    opened up a payment processing account at Todt’s direction in order to allow
7    Wellness Matrix to receive payments from consumers for COVID-19-related product
8    sales.
9             30.   On March 19, 2020, an associate of CoronaCide (the “CoronaCide
10   Associate”) sent Todt correspondence from the FDA stating it had received the
11   CoronaCide test kit submission. The letter also stated that the FDA would notify
12   CoronaCide when its review was completed. The FDA’s letter did not indicate that
13   the FDA had approved the CoronaCide test kits for any use.
14            31.   On March 20, 2020, Todt sent a Wellness Matrix purchase order to
15   CoronaCide for approximately $10,000 of CoronaCide test kits and Disinfectant.
16   Minutes later, the CoronaCide Associate notified Todt that the CoronaCide test kits
17   were only to be sold to governments in bulk at that time, and therefore Wellness
18   Matrix’s CoronaCide test kit order would not be filled. The CoronaCide Associate
19   emailed Todt a couple days later and informed Todt that Wellness Matrix’s
20   Disinfectant order would also not be filled.
21
              B.    Wellness Matrix and Todt Market and Sell COVID-19-Related
22                  Products.
23            32.   Around this time, Todt contacted one of his associates and, on behalf of
24   WGMR, directed him to add information about the CoronaCide test kits and
25   Disinfectant to the websites stopcorona28.com and virastop28.com. Todt specifically
26   told the associate to include the FDA submission number for the CoronaCide test kits
27   and to indicate that the COVID-19 products were Wellness Matrix products.
28            33.   Around the same time, Todt retained other associates to assist in selling

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1    Wellness Matrix’s COVID-19-related products to consumers.
2            34.   At Todt’s direction, the Wellness Matrix website included a banner on
3    the front page that directed viewers to “Visit CoronaStop28.com” and provided a
4    link.
5            35.   From at least March 19, 2020 until approximately March 31, 2020,
6    Wellness Matrix offered through the Wellness Matrix-affiliated websites
7    coronastop28.com, stopcorona28.com, and virastop28.com, and through social media,
8    the CoronaCide test kits and the Disinfectant for sale.
9            36.   The Wellness Matrix-affiliated websites included clear references tying
10   the products to Wellness Matrix. For example, virastop28.com provided a disclaimer
11   which stated that the products were being sold by Wellness Matrix. Further, the
12   pictures of the Disinfectant on all of the Wellness-affiliated websites stated that they
13   were a “WMGR Product.”
14           37.   However, from before March 19, 2020 until approximately March 31,
15   2020, neither Wellness Matrix nor Todt were in possession of or had the ability to
16   procure the CoronaCide test kits or Disinfectant.
17           38.   The CoronaCide test kits were advertised on the Wellness Matrix-
18   affiliated websites for at least three days, during the time period from March 19, 2020
19   until approximately March 31, 2020, as being FDA-approved and for at least two
20   other days as being “FDA registered and authorized.”
21           39.   In addition, the Wellness Matrix-affiliated websites advertised the
22   CoronaCide test kits as an at-home test kit for COVID-19, providing results within
23   ten minutes “in the privacy of your own home.”
24           40.   The Wellness Matrix-affiliated websites advertised the Disinfectant as
25   EPA approved or registered, citing a purported EPA registration number “Reg #HQ-
26   OPP-2013-0220-0008.”
27           41.   Todt also touted the Wellness Matrix CoronaCide test kits on social
28   media. For example, on March 19, 2020, on his personal Twitter account, Todt

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1    falsely claimed Wellness Matrix was selling “Fda approved” “[h]ome test kits” to
2    “Stop Corona Before It Starts”:
3
4
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6
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9
10         42.    Todt also utilized social media to publicize the Wellness Matrix
11   affiliated websites, tweeting the names of the sites to numerous twitter handles.
12   IV.   Wellness Matrix and Todt Knew, or Were Reckless in Not Knowing, that
           Their Statements on Wellness Matrix-Affiliated Websites and Social
13         Media Were Materially False and Misleading.
14         43.    As described above in paragraphs 22-42, Wellness Matrix and Todt
15   made the statements about the CoronaCide test kits and Disinfectant on Wellness
16   Matrix-affiliated websites and social media.
17         A.     The CoronaCide Test Kits
18         44.    First, Wellness Matrix’s and Todt’s statements on the Wellness Matrix-
19   affiliated websites, and Todt’s statements on social media, claiming that they had
20   CoronaCide test kits available for purchase and delivery was materially false and
21   misleading. From before March 19, 2020 until approximately March 31, 2020,
22   Wellness Matrix and Todt knew, or were reckless in not knowing, that neither
23   Wellness Matrix nor Todt had any CoronaCide test kits to deliver to consumers.
24         45.    Second, Wellness Matrix’s and Todt’s statements on the Wellness
25   Matrix-affiliated websites, and Todt’s statements on social media, claiming that the
26   CoronaCide test kits were either FDA approved or registered and authorized for at-
27   home use were materially false and misleading. From before March 19, 2020 until
28   approximately March 31, 2020, Wellness Matrix and Todt knew, or were reckless in

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1    not knowing, that the FDA had neither approved, registered, nor authorized the use of
2    the CoronaCide test kits. Among other things, on March 19, 2020, Todt had received
3    an FDA letter from a CoronaCide associate indicating that the CoronaCide test kits
4    were under review by the FDA and were not approved for use. In addition, on March
5    23, 2020, Todt was told by one of his salesman pitching the CoronaCide test kits that,
6    according to customers, the FDA number for the test kits was not identified on the
7    FDA’s website.
8          B.     The Disinfectant
9          46.    First, Wellness Matrix’s and Todt’s statements on the Wellness Matrix-
10   affiliated websites claiming that they had Disinfectant available for purchase and
11   delivery were materially false and misleading. From before March 19, 2020 until
12   approximately March 31, 2020, Wellness Matrix and Todt knew, or were reckless in
13   not knowing, that neither Wellness Matrix nor Todt had any Disinfectant to deliver to
14   consumers.
15         47.    Second, Wellness Matrix’s and Todt’s statements on the Wellness
16   Matrix-affiliated websites claiming that the Disinfectant was EPA approved or
17   registered were materially false and misleading. From before March 19, 2020 until
18   approximately March 31, 2020, Wellness Matrix and Todt knew, or were reckless in
19   not knowing, that Reg #HQ-OPP-2013-0220-0008 was not a valid EPA registration
20   number, and the Disinfectant was not an EPA-registered pesticide and did not meet
21   the EPA’s criteria for use against the virus that causes COVID-19.
22         48.    Specifically, the EPA maintains the database “List N: Disinfectants for
23   Use Against SARS-CoV-2,” which lists products that meet EPA’s criteria for use
24   against SARS-CoV-2, the virus that causes COVID-19. Todt knew, or was reckless in
25   not knowing, that the Disinfectant was not included on List N. Todt also received an
26   email from one of his product sales representatives that called into question the EPA
27   registration number for the Disinfectant.
28

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1     V.    Todt Makes Material Misrepresentations to a Wellness Matrix Investor.
2           49.    On February 27, 2020, an individual (the “Investor”) visited Todt. Todt
3     told the Investor to invest in Wellness Matrix because it had a Disinfectant to stop the
4     spread of COVID-19 that had been approved by the EPA.
5           50.    Todt also told the Investor that the United States government and
6     Amazon had expressed interest in the Disinfectant, and that he believed Wellness
7     Matrix’s stock price could increase from $0.05 per share to $20 per share as a result
8     of the new product.
9           51.    Todt also told the Investor that he was one of the owners of Wellness
10    Matrix, and showed him the coronastop28.com website on his computer, which he
11    said was affiliated with Wellness Matrix and created by him a few days ago.
12          52.    A day later, the Investor followed up with Todt, and Todt told the
13    Investor that Wellness Matrix had sold 10,000 units of Disinfectant to Costco.
14          53.    The Investor periodically reviewed the coronastop28.com website and
15    noticed that the CoronaCide test kits and Disinfectant supporting documentation were
16    added to the site. The Investor also noticed that Wellness Matrix’s website included a
17    link to the coronastop28.com website.
18          54.    Todt’s statements to the Investor were materially false and misleading.
19    Todt knew, or was reckless in not knowing, that: (a) Wellness Matrix and Todt did
20    not have any Disinfectant to deliver to consumers; (b) the Disinfectant had not been
21    approved by the EPA; and (c) Wellness Matrix had not made any sales of
22    Disinfectant to Costco.
23          55.    In addition, as explained above in paragraphs 43-48, Todt knew, or was
24    reckless in not knowing, that the claims regarding Wellness Matrix’s products on
25    coronastop28.com were materially false and misleading.
26          56.    From March 6, 2020 to March 24, 2020, the Investor purchased over
27    23,000 shares of Wellness Matrix. The information that the Investor learned from
28    Todt and the Wellness Matrix-affiliated websites about Wellness Matrix’s marketing

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1     of COVID-19-related products was important to his decision to buy the Wellness
2     Matrix stock.
3            57.    The Investor also told his sister about what he had learned about
4     Wellness Matrix, and she purchased 5,000 shares of Wellness Matrix stock on March
5     26, 2020.
6            58.    The Investor has since sold his shares of Wellness Matrix and realized a
7     loss of approximately $900. The Investor’s sister has since sold her Wellness Matrix
8     shares and realized a loss of approximately $400.
9
      VI.    Wellness Matrix’s and Todt’s Materially False and Misleading
10           Statements Impacted Trading of Wellness Matrix Stock.
11           59.    In the three months prior to February 25, 2020, Wellness Matrix’s share
12    price fluctuated between $0.025 and $0.053, with an average daily trading volume of
13    28,100 shares for the three-month period.
14           60.    On February 24, 2020, Wellness Matrix filed a Form 10 with the SEC
15    that included audited financial statements that showed no revenue for the company
16    for its prior fiscal year.
17           61.    On the following day, February 25, 2020, Wellness Matrix’s share price
18    fluctuated between $0.05 and $0.10 with a trading volume of 194,055 shares.
19           62.    After February 25, 2020 through April 6, 2020, Wellness Matrix’s share
20    price fluctuated between $0.035 and $0.19, with an average trading volume of
21    approximately 85,000 shares.
22           63.    As discussed above, Wellness Matrix and Todt offered the CoronaCide
23    test kits and Disinfectant for sale on Wellness Matrix-affiliated websites from at least
24    March 19, 2020 until approximately March 31, 2020.
25           64.    On March 25, 2020, the mid-point of this sale period, Wellness Matrix’s
26    share price opened at $0.19 from the previous day’s closing price of $0.09.
27           65.    At this point in time, national and local news reports were dominated by
28    reports of COVID-19 case increases and the lack of a self-administered test for the

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1     virus.
2              66.   Investors purchased Wellness Matrix stock as a result of Wellness
3     Matrix’s and Todt’s materially false and misleading statements about the CoronaCide
4     test kits and Disinfectant and these representations were important to investors in
5     deciding to buy WMGR stock.
6     VII. Wellness Matrix’s Fraud is Revealed.
7              67.   On April 2, 2020, National Public Radio, which had conducted an
8     investigation into the sales of Wellness Matrix’s CoronaCide test kits, reported that:
9     (a) several customers who ordered the Wellness Matrix CoronaCide test kits said they
10    never received them and have tried to cancel their payments; and (b) the FDA had not
11    authorized any at-home COVID-19 test kit.
12             68.   On April 7, 2020, the SEC suspended trading in Wellness Matrix’s
13    securities because of questions regarding the accuracy and adequacy of information
14    in the marketplace since at least March 19, 2020.
15                                                I.
16                                    CLAIM FOR RELIEF
17               Violations of Section 10(b) of the Exchange Act and Rule 10b-5
18             69.   The SEC realleges and incorporates by reference paragraphs 1 through
19    68 above.
20             70.   By engaging in the conduct described above, Wellness Matrix and Todt
21    directly or indirectly, in connection with the purchase or sale of a security, by the use
22    of means or instrumentalities of interstate commerce, of the mails, or of the facilities
23    of a national securities exchange: (a) employed devices, schemes, or artifices to
24    defraud; (b) made untrue statements of a material fact or omitted to state a material
25    fact necessary in order to make the statements made, in the light of the circumstances
26    under which they were made, not misleading; and (c) engaged in acts, practices, or
27    courses of business which operated or would operate as a fraud or deceit upon other
28    persons.

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1           71.    In engaging in the conduct described herein, Defendants Wellness
2     Matrix and Todt acted knowingly and with a reckless disregard for the truth.
3           72.    By reason of the foregoing, Wellness Matrix and Todt, directly or
4     indirectly, violated, and unless restrained and enjoined will continue to violate,
5     Section 10(b) of the Exchange Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17
6     C.F.R. § 240.10b-5.
7                                    PRAYER FOR RELIEF
8           WHEREFORE, the SEC respectfully requests that the Court:
9                                                I.
10          Issue findings of fact and conclusions of law that Defendants committed the
11    alleged violations.
12                                               II.
13          Issue judgments, in forms consistent with Rule 65(d) of the Federal Rules of
14    Civil Procedure, permanently enjoining Defendants, and their officers, agents,
15    servants, employees and attorneys, and those persons in active concert or
16    participation with any of them, who receive actual notice of the judgment by personal
17    service or otherwise, and each of them, from violating Section 10(b) of the Exchange
18    Act, 15 U.S.C. § 78j(b), and Rule 10b-5 thereunder, 17 C.F.R. § 240.10b-5, and
19    permanently enjoining Defendant Todt from, directly or indirectly, including, but not
20    limited to, through any entity owned or controlled by Defendant Todt, participating in
21    the issuance, purchase, offer, or sale of any security; provided, however, that such
22    injunction shall not prevent Defendant Todt from purchasing or selling securities
23    listed on a national securities exchange for his own personal account.
24                                              III.
25          Order Defendants to pay civil penalties under Section 21(d)(3) of the Exchange
26    Act, 15 U.S.C. § 78u(d)(3).
27                                              IV.
28          Enter an Order, pursuant to Section 21(d)(2) of the Exchange Act, 15 U.S.C.

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1     § 78u(d)(2), permanently prohibiting Defendant Todt from serving as an officer or
2     director of any issuer that has a class of securities registered pursuant to Section 12 of
3     the Exchange Act or that is required to file reports pursuant to Section 15(d) of the
4     Exchange Act.
5                                                 V.
6           Entering an Order, pursuant to Section 21(d)(6)(A) of the Exchange Act, 15
7     U.S.C. § 78u(d)(6)(A), prohibiting Defendant Todt from participating in an offering
8     of penny stock.
9                                                VI.
10          Retain jurisdiction of this action in accordance with the principles of equity and
11    the Federal Rules of Civil Procedure in order to implement and carry out the terms of
12    all orders and decrees that may be entered, or to entertain any suitable application or
13    motion for additional relief within the jurisdiction of this Court.
14                                              VII.
15          Grant such other and further relief as this Court may determine to be just and
16    necessary.
17                                       JURY DEMAND
18          The SEC demands a trial by jury on all claims so triable.
19    Dated: June 11, 2021
20
                                           /s/ Donald W. Searles
21
                                           DONALD W. SEARLES
22                                         Attorney for Plaintiff
23                                         United States Securities and Exchange Commission

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